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9                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12   HECTOR FUENTES, individually            Case No. 8:20-cv-00487-JLS-JDE
     and on behalf of all others similarly
13   situated,                               ORDER GRANTING DEFENDANT’S
                                             UNOPPOSED APPLICATION TO FILE
14                Plaintiff,                 UNDER SEAL
15         v.
16   SUNSHINE BEHAVIORAL
     HEALTH GROUP LLC,
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                  Defendant.
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Case 8:20-cv-00487-JLS-JDE Document 34 Filed 07/09/20 Page 3 of 3 Page ID #:286
